      MAGISTRATE JUDGE NEWBERN COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS


U.S.A. v. Cade Cothren                                                            , No. 3:22-cr-282

ATTORNEY FOR GOVERNMENT:               Amanda Klopf & John Patty


ATTORNEY FOR DEFENDANT:                Cynthia Sherwood                                        AFPD      Panel      Retained

PRETRIAL SERVICES/PROBATION OFFICER:              Tiana Rock


INTERPRETER NEEDED?            YES    NO        LANGUAGE/INTERPRETER:
                                                  PRESENT   TELEPHONE                  VIDEO

   Defendant consents appear to before the Magistrate Judge by video conference.

   INITIAL APPEARANCE             ON A SUMMONS             ARRESTED ON: August 23, 2022
      DEFENDANT HAS A COPY OF:
         Complaint      Indictment      Information     Supervised Release Pet.       Other ____________________
         Defendant advised of the charges and the maximum penalties        Defendant has a copy of notice of rights
         Defendant advised of right to counsel                   Counsel retained
         Defendant sworn and/or certified under penalty of perjury and financial affidavit filed       FPD Appointed
         Defendant advised of right to silence
         Defendant advised of right to Consular notification
         GOVERNMENT and DEFENDANT advised of Due Process Protections Act of 2020
         Defendant advised of right to preliminary hearing                Defendant waived preliminary hearing
         Government motion for detention                                  Defendant temporarily detained
         Defendant waived detention hearing                               ICE detainer on defendant
         Defendant reserved right to hearing in future                    Defendant to be returned to State custody
         Defendant to remain in Federal custody                           Defendant waived rights under IAD
         Defendant to remain on current conditions of supervised release
         Defendant ordered to psychological/psychiatric evaluation
         Defendant released on:
                Own recognizance with conditions of release        standard        special
                Appearance bond in the amount of:
                Property bond [description of property]:
         RULE 5 - Defendant advised of right to identity hearing          Defendant waived identity hearing
         RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
         RULE 5 - Defendant elected to have detention hearing in District of Prosecution
         RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE 20 TRANSFER
   PRELIMINARY/DETENTION/ARRAIGNMENT CONTINUED TO:

   GRAND JURY WAIVED IN OPEN COURT                 [Defendant sworn and advised of rights by Court]
   ARRAIGNMENT
        Defendant acknowledges he/she has copy of Indictment/Information         Court advised Def. of penalties
        Defendant waives reading thereof             Indictment/Information read to defendant by Judge
     PLEA:     GUILTY        NOT GUILTY               Defendant intends to plead guilty and case referred to DJ



                                                                                           Def 1:13 minutes IA & 2 minute AR
                                                                                           Def 2: 14 minutes IA & 2 minute AR
       DATE: August 22, 2022                         TOTAL TIME:          31 minutes

       BEGIN TIME: 11:31 a.m.                        END TIME: 12:02 p.m.
         Digitally Recorded          Court Reporter:_____________________________

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